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                                                  U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York
                                                      26 Federal Plaza, 37th Floor
                                                      New York, New York 10278




                                                      December 5, 2024
                                                                          GRANTED. The Clerk of Court is
BY ECF                                                                    respectfully directed to terminate the
The Honorable Arun Subramanian                                            motion at ECF No. 100.
United States District Judge
Southern District of New York                                             SO ORDERED.
500 Pearl Street
New York, NY 10007

       Re:       United States v. Sean Combs, 24 Cr. 542 (AS)
                                                                          Arun Subramanian, U.S.D.J.
Dear Judge Subramanian:                                                   Date: December 6, 2024

        Pursuant to the Court’s Individual Rules, the Government respectfully submits this letter
motion to request an adjournment of the briefing schedule in connection with the motion filed by
the defendant last night. (See Dkt. No. 97). By order dated November 19, 2024, the Court set the
following briefing schedule for the defendant’s application relating to the notes photographed at
the MDC:

             •   Defense motion due December 4, 2024
             •   Government opposition due December 9, 2024
             •   Defense reply due December 11, 2024

The Government proposes the following adjournment, which would provide the Government a
similar amount of time to respond to the defendant’s brief as the defendant had to draft and file his
brief:

             •   Government opposition due December 20, 2024
             •   Defense reply due December 27, 2024

The Government respectfully submits that the proposed schedule will afford the Government
adequate time to respond to the myriad issues raised in the defendant’s brief. Specifically, given
that the Government’s Case Team cannot respond to certain arguments advanced in the
defendant’s brief regarding privilege because the Case Team is no longer in possession of the notes
at issue, the Government must add an Assistant United States Attorney to the Filter Team to take
on that response. Additionally, given the breadth and scope of the extraordinary relief requested
by the defendant, an adjournment is appropriate. Moreover, the defendant will suffer no prejudice
given that the Case Team is no longer in possession of the notes at issue.
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        This is the first request for an adjournment. The Government has asked defense counsel
for their position on the Government’s request, but has not received a response. The parties are
scheduled to appear before the Court on December 18, 2024 at 2:00 p.m.

                                              Respectfully submitted,

                                              DAMIAN WILLIAMS
                                              United States Attorney

                                        By:      /s
                                              Maurene Comey / Meredith Foster /
                                              Emily A. Johnson / Christy Slavik /
                                              Madison Reddick Smyser / Mitzi Steiner
                                              Assistant United States Attorneys
                                              (212) 637-2324/-2310/-2409/-1113/-2381/-2284

cc: all counsel by ECF
